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    t tl ,\Jt d:' 2·~:: !

                                                    United States District Court

                                                                            for the                                                    JUN 0 2 2016
                                                                                                                          JAMhs~::: ..<i"\.
                                                        Eastern District of Arkansas                                      By: ~RK
                                                                                                                                                     DEPCLERK
                                    Request for ~lodif)·ing the Conditions or Term of Supen·ision
                                                    With Consent of the Offtmder
                                                   f/'mbtlfilm Form 49, ll'itfrc>r 1if lfrari11g it ,-1((<1dt1•1/)


      \amc of Offender:             Tanadcrus Rattler                                                 Case Number:               0860 4: I I CR00209-25
                                    a1k/a/ Tan

      \amc of Sentencing Judicial Oniccr:                Honorable James M. Moody
                                                         Senior United States District Judge

                                                         I lonorable James ?-1. Moody Jr.
                                                         United States District Judge
                                                         (Reassigned on March l 0. 2014)

      Original Offense:             Conspiracy To Possess With Intent to Distribute and to Distribute a Controlled Substance

      Date of Sentence:             November 6, 2012
      Original Scntern.:c:          44 months Bureau of Prisons followed by 36 months supervised release

      Type of                                                            Date Supl.!rvision Commenced:                       February 24. 2015
      Super\'ision:           Term Of Supervised Release                 Date Supervision Expires:                               February 23, 2018
      \'1cntal Health Treatment                   Asst. lJ .S.                                                       Defense
      Specialist: Selina M. Earsa                 Attorney:            Julie E. l'ders                               Attorney:     Jenniffer Horan


                                                      PETITIONI~G THE COlJRT


    :_j              Tu extend the term of supervision for _ _ year( s). for a total tcnn of _ _ yeurs.
    ~2]              1'o mod if":· the conditions of supcrYision as follows:


                      Mr. Tanadcrus Rattler will reside ~rnd participate in a residential re-entry center at
                      the City of Faith in Little Hock, Arkunsns, for a period of six months and will abide
                      by all the rules and regulations of the focilif)"
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Prob 12B                                                -2-                             Request for Modif)'ing the
                                                                                Conditions or Tenn or Supervision
                                                                                    With Consent of thi.: Offender

:\ami.: ot' Offender: Tanadcrus Rauh.:r                                     Case Number: 0860 4:11CR00209-25




                                                      CAUSE

\Ir. Tanaderus Rattler"s tt!rm of sup1:rvised rd case commenced on February 24. 2015. At the time. he resided in
Lcx<1. Arkansas, with a paramour. On !'vtarch 19, 2015. his conditions were modified to include mental health
treatment. In February or 2016, Mr. Rattler moved with his ex-paramour to Little Rock. Arkansas. During his
residency in Little Rock, Arkansas. he established mental health treatment ut the Family Sc1Tice Ag1.:ncy in
:-Xorth Little Rock. Arkansas. and obtained employment at an the International House or Pancakes in Little
Rock. Arkansas. I [e was scheduled for drug testing three times a month.

~tr. Rattler failed to report for drug testing on April I4. May 3 and 9. 2016. On April 5. 2016. he failed to report
for an initial mental health treatment assessment at Family Service Agency and failed to call prior to his
absence. His initial mental health assessment was rescheduled un<l he reported for the assessment as instructed.
He also failed to report for an indi\'idual session on May 2, 2016. and failed to call prior to his absence. \.fr.
Rattler is no longer in a rdationship with th..: paramour and recently moved into the home of his aunt in West
I leh.:na. Arkansas. As a result of his move to West Ilclena. Arkansas. Mr. Ranier lost his employment because
he diJ not poss1:ss adequate transportation to rt!port for work shills and is having difficulty finding employment
in \\'('st I lclcna. Arkansas.

\Ir. Rattkr has requested placement at the City of Faith in Little Rock. Arkansas, ti.1r six months to provide him
transitional scn,ices. He desires to move LO Little Rock. Arkansas. so he cun ha\'C incn:ascd job opportunities.
The R1.:sidcntial Re-entry Center will also provide transportation scr\'iccs io his mental health appointments and
will conduct drug l1.:sting 1hr1:c times a month. Mr. Rattler is in agreement to have his conditions modifi...:<l to
include placcmcnt at the residential re-entry center in Linle Rock. Arkansas. for a period of six months. and will
abid...: by all the rules and rcgulalions of the facility.

Federal Public Defender Jcnnitfrr Horan was contuch:d and advis1:d \1r. Ranier of thl.! attached Waiver of

:t~odq::•innsofSupm:iun:                                          -_tktllli,ft)M. -
 Sdma M. l:arsa                                                   Julie1:fl~t~~
 ?vkntal I lcalth Treatment Specialist                            Assistant U.S. Attorney

 Date:   Mav 25. 2016                                            Dn1c:     ~/Z<I( \ ~



This form is to be tiled with Criminal Docketing as u motion.
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Prob 12B                                          -3-                     Request for Modifying the
                                                                  Conditions or Term of Supervision
                                                                      With Consent of the Offender

Name of Offender: Tanaderus Rattler                            Case Number: 0860 4: 11 CR00209-25


THE COURT ORDERS:

D No Action
D The Extension of Supervision as Noted Above
a The Modification of Conditions as Noted Above
0 Other




c: Federal Public Defender, Jenniffer Horan
   Assistant U.S. Attorney, Julie E. Peters
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        (l/lt)




                                          United States District C.ourt
                                                Eastern District of Arkansas
                                          W1lver ofHearJn1 co Modify Conditions
                               of Prob1tfon/Supervlsed Relemso or Extend Term of Supervision

          I have been advised and undcrscand that I am entitled by law to a hearing and assistance of counsel before any
        unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of
        supervision being extended. By "assistance of counsel.'' I undcntand that I have the right to be represented at rhe
        hearing by counsel of my own choosins Ir I am able lo relafn counsel. J 1110 understand that I have lhc right to
        request the Coun to appoint co\D1Scl to represent me at such a he1ring at no cost to myself ifl am not able to retain
        counsel or my own choosing.
            I hereby voluntarily waive my statutory right to a hearing and to assistance or counsel. 1 also agree to
        the
        following modification of my Conditions of Probalion and Supervised Release or lo the proposed extension of
        my term or supervision:

                  Mr. Tanadorus Rattler wUl reside and p1rtlclpato In a residential re-enery center at
                  the Cit)' or Faith In Uttle Rock, ArkDRlll, ror I period or six months and will abide
                  by all the rules and re1ulatlon1 of the faclllty.



        Witness         \O~-tZ?V-
                             (U.S. Probt11lon OJflctr)


                                                                 (Doll)




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